205 F.2d 520
    FERGUSON,v.PHILADELPHIA TRANSP. CO.FELLERSv.PHILADELPHIA TRANSP. CO.
    Nos. 10990, 10991.
    United States Court of Appeals, Third Circuit.
    Argued May 21, 1953.Decided June 4, 1953.
    
      Alan Kahn, Philadelphia, Pa.  (B. Nathaniel Richter, Richter, Lord &amp; Farage, Philadelphia, Pa., on the brief), for appellants.
      J. B. H. Carter, Philadelphia, Pa.  (Jay B. Leopold, Philadelphia, Pa., Ballard, Spahr, Andrews &amp; Ingersoll, Philadelphia, Pa., on the brief), for appellee.
      Before MARIS, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      The question raised on these appeals is whether the Philadelphia Transportation Company is a 'common carrier by railroad' within the purview of the Federal Employers' Liability Act, 45 U.S.C.A. § 51 et seq.  We agree with the district court, for the reasons stated in the opinion filed by Judge Ganey, 113 F.Supp. 275, that the company is not a railroad within the meaning of the act but is rather a street railway and bus company operating a local passenger transportation system on, over and under the streets of the city of Philadelphia and the adjacent urban area of its metropolitan district.  Compare Mangum v. Capital Traction Co., 59 App.D.C. 241, 39 F.2d 286, and Keffer v. Capital Transit Co., 87 U.S. App.D.C. 13, 183 F.2d 808, which involved the street railway and bus transportation system of the District of Columbia.  The district court was, therefore, right in dismissing the appellants' actions brought against the company under the Federal Employers' Liability Act.
    
    
      2
      The judgments of the district court will be affirmed.
    
    